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WA/WD PTS-NoAction
(01/19)                                               UNITED STATES DISTRICT COURT
                                                                                    for
                                                               Western District of Washington
Thom ps on Paige N oActi on       -
                                                   Report on Defendant Under Pretrial Services Supervision
Date of Report: 08/11/2020
Name of Defendant: Paige Thompson                               Case Number: 2:19CR00159RSL-1
Name of Judicial Officer: The Honorable Robert S. Lasnik, United States District Judge
Original Offense: Count 1: Wire Fraud
                   Count 2: Computer Fraud and Abuse
Date Supervision Commenced: 11/04/2019

Bond Conditions Imposed:
                              x       Submit to drug and alcohol testing, to include urinalysis, breathalyzer, or hand-held devices, as
                                      directed by Pretrial Services. You shall not use, consume or possess alcohol or any other product
                                      containing alcohol, including medication, unless prescribed to you by a physician and under the
                                      direction of Pretrial Services. Obtain an alcohol/substance abuse evaluation and follow any treatment
                                      recommendations as directed by Pretrial Services.
                              x       Halfway house placement with release privileges as determined by Pretrial Services. You must
                                      comply with facility rules, and are required to make payments towards your subsistence at the
                                      halfway house in an amount determined by the halfway house, but not to exceed 25% of your income
                                      and/or the current daily rate. Pretrial Services will coordinate the defendant’s release with the
                                      U.S. Marshals.
                              x       Travel is restricted to the Western District of Washington, or as directed by Pretrial Services.
                              x       The defendant shall participate in the location monitoring program with Active Global Positioning
                                      Satellite technology. The defendant is restricted to his/her residence at all times except for
                                      employment, religious services, medical, legal reasons, or as otherwise approved by the location
                                      monitoring specialist. The defendant shall abide by all program requirements, and must contribute
                                      towards the costs of the services, to the extent financially able, as determined by the location
                                      monitoring specialist. The location monitoring specialist will coordinate the defendant's release
                                      with the U.S. Marshals.
                              x       Surrender all current and expired passports and travel documents to the court. Do not apply for/obtain
                                      a new passport or travel document from any country without permission of the court. If the
                                      surrendered passport is a foreign passport, it shall be forwarded to Immigration and Customs
                                      Enforcement if defendant is convicted of an offense, unless otherwise ordered by the Court.
                              x       Maintain residence as directed. Do not change residence without prior approval of Pretrial Services
                                      or as directed by Pretrial Services.
                              x       You are prohibited from possessing or having access to firearms and dangerous weapons. All
                                      firearms and dangerous weapons must be removed from your residence(s), vehicle(s), and place of
                                      employment. This condition operates in conjunction with any restrictions imposed under Title 18,
                                      USC 922, and the Washington State Revised Code, Chapter 9.41.
                              x       Undergo a mental health, psychiatric or psychological evaluation and follow all treatment
                                      recommendations in that evaluation, as directed by Pretrial Services. You shall take all medications
                                      as prescribed.
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      x   The defendant shall not use, possess or have access to a computer or computer components
          (functional or non-functional), including but not limited to hard drives, external storage devices,
          keyboards, and mouse, at the defendant’s residence, place of employment, private homes, libraries,
          schools, or other public locations, without prior approval of Pretrial Services. In addition, the
          defendant shall not use, possess, or have access to PDA’s, gaming systems, and Internet enabled TV
          devices, nor access the internet through use of a cellular phone device. The defendant shall not access
          the internet, or private or public computer networks, or not have others do so on his/her behalf,
          without prior approval of Pretrial Services. The defendant hereby consents to U.S. Pretrial Services'
          use of electronic detection devices to evaluate the defendant's access to WiFi (wireless fidelity)
          connections.
      x   Provide Pretrial Services with any requested information regarding your financial status, income
          sources, and investments. Sign a Release of Information form for Credit Bureau Verification if
          requested by Pretrial Services.
      x   Maintain employment, or, if unemployed, actively seek employment as directed by Pretrial Services.
      x   If employed and job duties require and/or you have the ability to access computers, you will notify
          your employer of pending charges and obtain prior approval from Pretrial Services. The employer
          shall sign a Third Party Disclosure Form as directed by Pretrial Services.
      x   You must contribute towards the costs of the services required by this bond, to the extent you are
          financially able to do so, as determined by Pretrial Services.
      x   You shall not have direct contact or indirect contact with any existing and/or future witnesses in this
          case.
      x   Release to and placement at with release privileges as determined by Pretrial Services. You must
          comply with all facility rules. Pretrial Services will coordinate the defendant’s release with the
          U.S. Marshals.
      x   The defendant shall not go near any Amazon or Capital One locations.

                                    NONCOMPLIANCE SUMMARY
The defendant has not complied with the following conditions of supervision:

     x    Undergo a mental health, psychiatric or psychological evaluation and follow all treatment
          recommendations in that evaluation, as directed by Pretrial Services. You shall take all medications as
          prescribed.

Nature of Noncompliance

   1. The defendant has violated the special condition she follow all treatment recommendations by failing to
      participate in mental heath treatment and missing counseling sessions on or about July 13 and 20, 2020.

Supporting Evidence: On November 4, 2020, a detention review hearing was held before Your Honor and she
was subsequently released on bond with standard and special conditions. On November 5, 2020, an intake
appointment was completed where the defendant acknowledged her understanding of all conditions of the bond,
including the special condition to follow all treatment recommendations.
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On July 20, 2020, Emily Taylor at Seattle Counseling Services advised Ms. Thompson had not answered her phone
calls on July 20, 2020, and the previous week. She indicated clients are taken off her schedule after missing two
appointments. I attempted to reach Ms. Thompson on July 20, 2020, to no avail. The following day I communicated
with Ms. Thompson to contact her provider and reminded her of treatment obligations as it relates to the Court. Ms.
Thompson has since reportedly rescheduled and attended therapy via telephone on August 4, 2020.

On August 4, 2020, I received Ms. Thompson’s monthly treatment report indicating she was noncompliant with her
mental health treatment program for missing all appointments scheduled in July 2020, including one rescheduled
appointment.

For brevity, the Court and parties are familiar with Ms. Thompson’s extensive mental health history and
concerns as outlined in the Sealed Status Report submitted on May 8, 2020 (Dkt. 81). Given the repetitive
nature of disengaging or minimal effort invested in treatment, notification to the Court is warranted at this time.
This, along with additional concerning texts, has been an ongoing issue. Ms. Thompson frequently relays
thoughts of hopelessness and claims treatment is not beneficial.

I spoke with Ms. Thompson again on August 10, 2020, to discuss the missed appointments and expectations
going forward. Ms. Thompson agreed to engage in treatment as recommend by her counselor. Ms. Thompson
has otherwise remained in communication, expresses herself and is forthright with me. I hope to work with her
defense team and counselor on a treatment plan to keep her in compliance and assist her in areas of need that
may also mitigate a risk of non-appearance and danger to the community or herself.

Ms. Thompson is pending trial before Your Honor on February 8, 2021.

United States Probation Officer Action:
6     Mental health provider contacted for compliance assistance
6     Defense counsel contacted for compliance assistance
6     Reprimand

I contacted Assistant United States Attorney Andrew Friedman and Steven Masada; however, I have not
received a response opposing or supporting my recommendation. I notified defense counsel Nancy Tenney and
she advised defense counsel has no objection to the recommendation.

I respectfully recommend that the Court endorse the actions taken at this time.

I swear under penalty of perjury that                      APPROVED:
the foregoing is true and correct.                         Connie Smith
                                                           Chief United States Probation and Pretrial Services Officer
Executed on this 11th day of August, 2020.                 BY:


A
Ben Beetham
                                                           A
                                                           Patrick E. Robertson
United States Probation Officer                            Supervising United States Probation Officer
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                       THE COURT FINDS PROBABLE CAUSE AND DIRECTS:
x Judicial Officer endorses the United States Probation Officer’s actions
  Issue a Summons
  Issue a Warrant
  Other




                                                               Robert S. Lasnik, United States District Judge
                                                                      August 12, 2020
                                                                                  Date
